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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7     UNITED STATES OF AMERICA, ex rel.                  Case No. 16-cv-02043-TSH
                                         STF, LLC, et al.,
                                   8
                                                        Plaintiffs,                         DISCOVERY ORDER
                                   9
                                                 v.                                         Re: Dkt. No. 71
                                  10
                                         CRESCENDO BIOSCIENCE, INC., et al.,
                                  11
                                                        Defendants.
                                  12
Northern District of California
 United States District Court




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                                              Given the anticipated subjects of discovery, the Court agrees with Defendants that a two-
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                                       tiered protective order is appropriate, with one tier for “Confidential” information and the other
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                                       tier for “Highly Confidential – Attorneys’ Eyes Only” information.
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                                              IT IS SO ORDERED.
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                                       Dated: July 9, 2020
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                                  21                                                                THOMAS S. HIXSON
                                                                                                    United States Magistrate Judge
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